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 1                                                    THE HONORABLE BENJAMIN H. SETTLE
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA
 9   KYLIE STEELE,                                    )    Case No. 19-cv-05553-BHS
                                                      )
10                                     Plaintiff,     )    DEFENDANT NATIONAL
                                                      )    RAILROAD PASSENGER
11            v.                                      )    CORPORATION’S MOTION FOR
                                                      )    STAY OF EXECUTION PURSUANT
12   NATIONAL RAILROAD PASSENGER                      )    TO FED. R. CIV. P. 62(B)
     CORPORATION, d/b/a AMTRAK,                       )
13                                                    )    NOTE ON MOTION CALENDAR:
                                    Defendants.       )    JANUARY 7, 2022
14                                                    )
15            Pursuant to Fed. R. Civ. P. 62(b), Defendant National Railroad Passenger Corporation
16   (“Amtrak”) respectfully moves for an order staying enforcement of the judgments entered in this
17   matter upon Amtrak’s posting of supersedeas bonds in an amount to be determined by the Court.
18                                       I.         BACKGROUND
19            On November 23, 2021, the Court entered judgment in favor of Plaintiff Kylie Steele
20   pursuant to the jury’s verdict for $6,875,000. Dkt. 88.
21            On or before December 21, 2021, Amtrak intends to move for a new trial, or in the
22   alternative, for remittitur pursuant to Fed. R. Civ. P. 59. In the alternative to a new trial, Amtrak
23   also will be moving for a judgment as a matter of law with respect to Plaintiff’s future economic
24   loss.
25                               II.     ARGUMENT & AUTHORITY
26            Federal Rule of Civil Procedure 62(b) provides that “[a]t any time after judgment is
27   entered, a party may obtain a stay by providing a bond or other security. The stay takes effect
     DEFENDANT’S MOTION FOR STAY OF EXECUTION OF                               LANE POWELL PC
                                                                        1420 FIFTH AVENUE, SUITE 4200
     JUDGMENT PURSUANT TO FED. R. CIV. P. 62(B) - 1                              P.O. BOX 91302
     CASE NO. 19-CV-05553-BHS                                                   SEATTLE, WA 98111-9402
                                                                              206.223.7000 FAX: 206.223.7107
     019188.0447/8812887.1
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 1   when the court approves the bond or other security and remains in effect for the time specified

 2   in the bond or other security.” Fed. R. Civ. P. 62(b). A party may obtain “a stay at any time after

 3   a judgment is entered, not just when an appeal is taken.” 11 Charles Alan Wright & Arthur R.

 4   Miller, Fed. Prac. & Proc. Civ. § 2905 (3d ed., August 2019 Update).

 5            By posting a bond, the Plaintiff is protected from any loss resulting from the stay in the

 6   execution of the judgment. Pacific Reinsurance Management Corporation v. Ohio Reinsurance

 7   Corporation, 935 F.2d 1019, 1027 (9th Cir. 1991). District courts have “inherent discretionary

 8   authority in setting supersedeas bonds.” Rachel v. Banana Republic, Inc., 831 F.2d 1503, 1505

 9   n.1 (9th Cir. 1987). It has been observed that courts often compute the supersedeas bond by

10   looking at the amount of the judgment plus interest, costs, and an estimate of any damages

11   attributed to the delay. 11 Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Civ. §

12   2905 (3d ed., August 2019 Update). A published decision within the Ninth Circuit noted that

13   “[a]lthough practices vary among judges, a bond of 1.25 to 1.5 times the judgment is typically

14   required.” Cotton ex rel. McClure v. City of Eureka, 860 F. Supp. 2d 999, 1029 (N.D. Cal. 2012)

15   (quoting Christopher A. Goelz & Meredith J. Watts, California Practice Guide: Ninth Circuit

16   Civil Appellate Practice ¶ 1:168 (TRG 2011)).

17            Bonds at the lower end of this range would be more than enough to secure Plaintiff’s

18   judgment plus costs, interest, and anticipated legal fees on appeal, if any. Amtrak respectfully

19   requests that the Court establish bond amounts of $8,593,750 ($6,875,000 x 1.25).

20            Once Amtrak posts the bond in an amount determined by the court, Amtrak requests that

21   the enforcement of judgment be stayed until the time for Amtrak to file an appeal expires or the

22   Court of Appeals for the Ninth Circuit issues a final decision in this matter, whichever is later.

23   //

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 1            DATED this 20th day of December, 2021.

 2                                             LANE POWELL PC
 3

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14                                                Passenger Corporation

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